                Case 2:13-cr-00144-JAM Document 100 Filed 05/09/14 Page 1 of 3


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5
     Attorney for Defendant
6    DAVID REED
7                             IN THE UNITED STATES DISTRICT COURT
8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10

11   UNITED STATES OF AMERICA,           )                 2:13-CR-0144
                                         )
12                           Plaintiff,  )                 AMENDED STIPULATION AND
                                         )                 [PROPOSED] ORDER TO MODIFY
13
     v.                                  )                 CONDITIONS OF RELEASE
14                                       )
                                         )
15   DAVID REED,                         )
                                         )                 Judge: Hon. Allison Claire
16
                             Defendant.  )
17   ____________________________________)

18          On April 24, 2013, David Reed was ordered released with the condition that he
19
     “participate in a program of medical or psychiatric treatment, including treatment for drug or
20
     alcohol dependency, as approved by the pretrial services officer.” Docket nos. 32, 43 (condition
21
     no. 12).
22

23          At this time the parties, with the full agreement of pretrial services, are requesting that

24   special condition 12, which requires that Mr. Reed attend counseling, be removed. All other
25
     conditions will remain in place and he will continue on pretrial supervision. Attached hereto are
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     the 2nd Amended Conditions as proposed by the pretrial services officer and the parties.
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                                        Stipulation and [Proposed] Order - 1
              Case 2:13-cr-00144-JAM Document 100 Filed 05/09/14 Page 2 of 3


1           The parties and pretrial services feel that this action is appropriate at this time since Mr.
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     Reed has been in substance abuse counseling since his release in the Central District of
3
     California on April 10, 2013. He has been fully compliant with all conditions of his pretrial
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     release and has not had any positive drug tests since his release. His pretrial services officer in

6    the Central District is requesting he be terminated from participating in counseling. His officer
7    will also be reducing the frequency of his drug testing due to his continued compliance. The
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     Court is advised that attorney for the United States in this action, Assistant United States
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     Attorney Jared Dolan, has been apprised of this request and provided with a copy of the attached
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11   amended conditions, and has indicated that he has no objection to such modification to the

12   conditions of Mr. Reed’s release.
13
            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
14
     Dated: May 7, 2014                                      BENJAMIN WAGNER
15                                                           United States Attorney
16
                                                       By:          /s/ Jared Dolan
17                                                           JARED DOLAN
                                                             Assistant United States Attorney
18

19
     Dated: May 7, 2014                                            /s/ Erin J. Radekin
20                                                           ERIN J. RADEKIN
                                                             Attorney for Defendant
21                                                           DAVID REED
22

23
                                                   ORDER
24

25          Good cause appearing and for the reasons stated in the stipulation of the parties, the

26   conditions of Mr. Reed’s release are hereby modified pursuant to 18 U.S.C. § 3145(a). The new
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                                         Stipulation and [Proposed] Order - 2
              Case 2:13-cr-00144-JAM Document 100 Filed 05/09/14 Page 3 of 3


1    conditions of release are those set forth in the 2nd Amended Special Conditions of Release
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     attached to the parties’ stipulation (ECF No. 99-1).
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     Dated: May 8, 2014
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                                       Stipulation and [Proposed] Order - 3
